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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                     AMARILLO DIVISION

  TRACEY HARRIS COOMER,

              Plaintiff,

  v.                                                             2:18-CV-165-Z-BR

  WARNER B. MASSEY, et al.,

              Defendants.


       ORDER ADOPTING FINDINGS, CONCLUSIONS, AND RECOMMENDATION

        Before the Court are the findings, conclusions, and recommendation of the United States

 Magistrate   Judge   to dismiss   Defendants   Jane    Doe   #1-0273,   John   Doe   (Montford   Medical

 Operating Doctor), and John/Jane Doe — TT Medical Administrator (collectively, “Defendants”)

 for failure to serve pursuant to Federal Rule of Civil Procedure 4(m). No objections to the findings,

 conclusions, and recommendation have been filed. After making an independent review of the

 pleadings, files, and records in this case, the Court concludes that the findings, conclusions, and

 recommendation of the Magistrate Judge are correct. ECF No. 94. It is therefore ORDERED that

 the findings, conclusions, and recommendation of the Magistrate Judge are ADOPTED                    and

 Defendants are DISMISSED.

        SO ORDERED.

        March (£2025                                          Wh            a


                                                                   EW J. KACSMARYK
                                                              ITED STATES DISTRICT JUDGE
